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                                   UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TENNESSEE
                                           Western Division
                                          Office of the Clerk
Thomas M. Gould, Clerk                                                                             Deputy-in-Charge
242 Federal Building                                                                     U. S. Courthouse, Room 262
167 N. Main Street                                                                       111 South Highland Avenue
Memphis, Tennessee 38103                                                                  Jackson, Tennessee 38301
(901) 495-1200                                                                                        (713) 421-9200


                                        NOTICE OF SETTING
                     Before Judge Samuel H. Mays, Jr., United States District Judge



                                                 June 18, 2010



              RE:    2:10-20194-01-Ma
                     USA v. WILLIAM HARNESS


              Dear Sir/Madam:

            A REPORT DATE has been set before Judge Samuel H. Mays, Jr. on FRIDAY,
      JULY 23, 2010 at 2:00 P.M. in Courtroom 2, 11th floor of the Federal Building, Memphis,
      Tennessee.

              The report date is required by Section IV, paragraph B(4) of the Speedy Trial Plan. The plan
      requires that the defendant and his/her attorney appear at the above-designated time to give a status
      report to the Court on the case. The defendant must be present at the Report Date unless the Court
      excuses his/her appearance and the defendant files a written waiver of appearance in advance of the
      Report Date. Attorneys for the government and each defendant are expected to have furnished and
      obtained ALL DISCOVERY MATERIAL prior to the Report Date.

             Also, the attorney for each defendant is expected to have discussed with the defendant the
      options of a change of plea, or of going to trial and should be prepared to advise the Court of
      defendant's plan in this regard at the Report Date.

              Parties are expected to be ready for trial at any time during the period from AUGUST 2,
      2010 to AUGUST 13, 2010, upon four hours notice if the defendant is NOT in custody and resides
      within the Western District of Tennessee or within a two-hour drive of the court and if the
      prosecution has no out-of-town witnesses. If these conditions are not met, the parties are expected
      to be ready for trial at any time during this period on twenty-four hours notice.




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       Attorneys are expected to procure the issuance of writs for any in-custody witnesses no later
than JULY 23, 2010.

       This case is set on the court's Western Division criminal rotation docket. A description of
procedures utilized for this docket is available from the Clerk of Court.

       As to defendants on bond, failure to appear as directed will result in a forfeiture of that
defendant's appearance bond and issuance of a warrant for his or her arrest.

     THE DEFENSE COUNSEL SHALL PERSONALLY CONTACT THE DEFENDANT
TO INSURE HIS/HER ATTENDANCE AT THE DESIGNATED TIME.

      If you have any questions about this matter, please contact the case manager at the telephone
number provided below.

                                      Sincerely,
                                      THOMAS M. GOULD, CLERK

                                      BY:     S/ Jean Lee
                                              Jean Lee, Case Manager
                                              901-495-1239
                                              E-mail: jean_lee@tnwd.uscourts.gov




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